       Case 8-18-74507-reg            Doc 14       Filed 08/21/18      Entered 08/21/18 15:17:46




                                                                            Return Date: September 17, 2018
                                                                            Time: 9:30 A.M.

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
(CENTRAL ISLIP)
-------------------------------------------------------x
                                                               NOTICE OF MOTION FOR RELIEF
                                                               FROM THE AUTOMATIC STAY
In Re:
                                                               Chapter 7

         CEZARY S. WYSOCKI,                                    Case No. 1-18-74507 (REG)

                                    Debtor.
-------------------------------------------------------x

TO ALL PARTIES:

         PLEASE TAKE NOTICE, that upon the annexed affirmation of The Law Office of Robert

L. Gordon, by Robert L. Gordon, Esq., dated August 6, 2018, and upon the Affidavit of Mark Novin,

sworn to on the 6th day of August, 2018, the undersigned as counsel for 140-50 Burden Crescent

Owners Corp. (“Creditor”) shall move for an order before the Honorable Robert E. Grossman,

United States Bankruptcy Judge, at the United States Bankruptcy Courthouse, located at 290 Federal

Plaza, Courtroom 860, Central Islip, New York, on the 17th day of September, 2018, at 1:30 o'clock

p.m. in the afternoon of said day, vacating the automatic stay pursuant to §362(d) of the Bankruptcy

Code by reason that the Debtor has failed to pay post-petition rent for the cooperative premises at

Apartment 2E, 140-50 Burden Crescent, Briarwood, New York 11435 (“Unit”). The Proposed

Order, a copy which is annexed hereto, will seek to grant the Creditor the following relief:

         (a)     Granting Creditor relief from the automatic stay provisions of 11 U.S.C. §362; and

         (b)     Permitting Creditor to execute upon a warrant of eviction to be issued pursuant to a



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judgment to granted in New York City Landlord/Tenant Court against the Debtor; and

       (c)     Permitting to Creditor to foreclose upon the cooperative shares of stock and

proprietary lease allocated to the Unit.

       (d)     Granting such other, further relief as to this Court may seem just and proper.

Dated: Palisades, New York
       August 21, 2018

                                                     Yours, etc.
                                                     LAW OFFICE OF ROBERT L. GORDON
                                                     Attorney for Creditor
                                                     140-50 Burden Crescent Owners Corp.
                                                     21 Swan Street
                                                     Palisades, New York 10964
                                                     (718) 267-9513


                                                     By:    S/Robert L. Gordon
                                                            Robert L. Gordon ( RG3443)




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
(CENTRAL ISLIP)
-------------------------------------------------------x
                                                               ORDER FOR RELIEF
                                                               FROM THE AUTOMATIC STAY
In Re:
                                                               Chapter 7

         CEZARY S. WYSOCKI,                                    Case No. 1-18-74507 (REG)

                                    Debtor.
-------------------------------------------------------x

         The Creditor, 140-50 Burden Crescent Owners Corp., having moved this Court before the

Honorable Robert E. Grossman, United States Bankruptcy Court Judge, on the 17th day of

September, 2018, for an Order pursuant to §362(d)(1) and (2) of the Bankruptcy Code vacating the

automatic stay and permitting the foreclosure of the cooperative shares of stock and proprietary lease

allocated to the Debtor’s apartment located at Unite 2E, 140-50 Burden Crescent, Briarwood, New

York 11435; and

         This Court having read and filed and Creditor's Notice of Motion dated August 21, 2018, the

Creditor's Attorney's Affirmation in support of the motion, dated August 21, 2018, together with the

Affidavit of Mark Novin, sworn to the 6th day of August, 2018; and

         The Creditor having appeared by Law Office of Robert L. Gordon, by Robert L. Gordon,

Esq., of counsel in support thereof, and Debtor having neither appeared nor having filed opposition

to the Creditor's motion, and this Court after due deliberation having rendered its decision on the

motion; and

         NOW ON MOTION, of Law Office of Robert L. Gordon, attorneys for the Creditor, it is

hereby


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       ORDERED, that the Creditor's motion to vacate the automatic stay pursuant to §362(d) of

the Bankruptcy Code in order to take appropriate steps to execute upon a warrant of eviction to be

awarded under summary proceedings against the Debtor in New York City Landlord-Tenant Court,

for the Debtor’s eviction from the Units is hereby granted; and it is

       FURTHER ORDERED, Creditor is hereby granted leave to foreclose upon the cooperative

shares of stock and proprietary lease allocated to the Units, provided that surplus proceeds, if any,

shall be turned over to the Trustee

Dated: Central Islip, New York
       September 17, 2018

                                                      ENTER:



                                                      ____________________________________
                                                      Honorable Robert E. Grossman, U.S.B.J.




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                                                                            Return Date: September 17, 2018
                                                                            Time: 9:30 A.M.

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
(CENTRAL ISLIP)
-------------------------------------------------------x
In Re:                                                         AFFIRMATION IN SUPPORT OF
                                                               MOTION FOR RELIEF FROM THE
                                                               AUTOMATIC STAY

 CEZARY S. WYSOCKI,                                            Chapter 7

                                    Debtor.                    Case No. 1-18-74507 (REG)
-------------------------------------------------------x

TO:     Honorable Robert E. Grossman
        United States Bankruptcy Judge

        Robert L. Gordon, an attorney admitted to practice law before the Courts of the State of New

York, affirms the truth of the following under the penalties of perjury:

        I am the attorney for the Creditor in the within action and as such am fully familiar with the

facts and circumstances of this matter. All of the relevant facts with references to same are more

particularly set forth in the annexed affidavit of Mark Novin, the managing agent for the Creditor.

        1.       On or about July 3, 2018, Cezary S. Wysocki (the “Debtor”) commenced the above-

captioned case under Chapter 7 of the Bankruptcy Code.

        2.       Creditor is the fee title owner of the premises known as 140-50 Burden Crescent,

Briarwood, New York 14435, and Debtor owns the cooperative shares of stock and appurtenant

proprietary lease allocated to unit 2E (“Unit”).

        3.       Debtor has failed to pay post-petition maintenance charges to Creditor at the monthly

rate of $452.03 for the Unit, such that $860.32 in base post-petition rent is presently due and owing.



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Additionally, Debtor owes Creditor $5,419.86 in pre-petition arrears, as well as the legal fees and

disbursements for the instant motion.

       4.        The Creditor is entitled to relief from the automatic stay so as to enable the Creditor

to complete fully a summary proceeding in New York State Civil Court for the Debtor’s eviction,

as well as to foreclose upon the cooperative shares of stock and proprietary lease allocated to the

Debtor’s Unit.

       5.        The Debtor has evidenced an inability to adequately protect the Creditor's interest in

the premises. It is respectfully submitted that for this reason, the automatic stay provision of §362

of the Bankruptcy Code should be vacated as to the Creditor.

       6.        The Debtor is abusing and flouting the bankruptcy system to the detriment of the

Creditor. Such contumacious conduct should not be lightly countenanced by this Court.

       7.        It is obvious from all the documents that there are no outstanding issues of fact or law,

thereby requiring this Court to grant the relief requested herein.

       8.        No previous application for the relief sought herein has been made.

       9.        This Affirmation does not raise any novel issues of law, and accordingly, Creditor

respectfully requests that the requirement under Local Bankruptcy Rule 13(b) for the submission of

a memorandum of law be waived.




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          WHEREFORE, applicant respectfully prays that this Court grant the applicant's motion in

its entirety, together with such other, further and additional relief as to this Court may seem just and

proper.

Dated: Palisades, New York
       August 21, 2018


                                                        Yours, etc.

                                                        LAW OFFICE OF ROBERT L. GORDON
                                                        Attorney for Creditor
                                                        140-50 Burden Crescent Owners Corp.
                                                        21 Swan Street
                                                        Palisades, New York 10964
                                                        (718) 267-9513

                                                        By:     S/Robert L. Gordon
                                                                Robert L. Gordon ( RG3443)




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
(CENTRAL ISLIP)
-------------------------------------------------------x
In Re:                                                         AFFIDAVIT IN SUPPORT OF
                                                               MOTION FOR RELIEF FROM THE
                                                               AUTOMATIC STAY

 CEZARY S. WYSOCKI,                                            Chapter 7

                                    Debtor.                    Case No. 1-18-74507 (REG)
-------------------------------------------------------x


STATE OF NEW YORK                  )
                                   : ss.:
COUNTY OF QUEENS                   )

        Mark Novin, being duly sworn deposes and says:

1.      I am the managing agent for 140-50 Burden Crescent Owners Corp., the fee owner of the

cooperative premises located at 140-50 Burden Crescent, Briarwood, New York 11435, wherein the

Debtor Cezary S. Wysocki ("Debtor") is the owner of the cooperative shares of stock and

appurtenant proprietary lease allocated to unit 2E (“Unit”).

2.      This Affidavit is made in support of Creditor’s motion for relief from the automatic stay by

reason of Debtor’s failure to pay post-petition rent installments as is required under Bankruptcy Code

§362(d)(1). Debtor has failed to pay post-petition maintenance charges to Creditor at the monthly

rate of $452.03 such that $860.32 in base post-petition rent is presently due and owing. Additionally,

Debtor owes Creditor $5,419.86 in pre-petition arrears, as well as the legal fees and disbursements

for the instant motion.




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3.      The Creditor is entitled to relief from the automatic stay so as to enable the Creditor to

complete the fully the summary proceeding in New York State Civil Court for the Debtor’s eviction

and to foreclose upon the cooperative shares of stock and proprietary lease allocated to the Unit.

4.     It is apparent to your Deponent that the conduct of the Debtor in failing to meet his post-

petition obligations and its filing of a petition in bankruptcy evidences his intent to utilize the

bankruptcy forum as a means to pursue a dilatory course of conduct to prevent eviction from and

foreclosure of the Units.

5.     Such conduct should not be lightly countenanced by this Court.

6.     The Creditor is entitled to relief from the automatic stay so as to enable Creditor to evict the

Debtor under a warrant of eviction to be granted in a summary proceeding in New York City

Landlord & Tenant Court.

       WHEREFORE, it is respectfully submitted that Creditor's motion be granted in its entirety,

together with such other and further relief to which this Court is just and proper.


                                                               s/Mark Novin

Sworn to before me this
6th day of August, 2018
s/Robert L. Gordon
Qualified in Rockland County
NOTARY PUBLIC No. XX-XXXXXXX
Commission Expires June 29, 2019




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                                  AFFIDAVIT OF SERVICE

STATE OF NEW YORK             )
                              )ss.:
COUNTY OF QUEENS              )

        SHIRLEY D. GORDON, being duly sworn deposes and says:

        That I am over eighteen (18) years of age and reside at 21 Swan Street, Palisades, New York

10964

        That on August 21, 2018, I served a true copy of the Notice of Motion, Proposed Order,

Affirmation in Support of Motion to Vacate the Automatic Stay , and Affidavit in Support of Motion

to Vacate the Automatic Stay by mailing same in a sealed envelope, with postage prepaid thereon,

in a post-office or official depository of the U.S. Postal Service within the State of New York, by

regular mail, addressed to the last known address of the addressee as indicated below:

TO:

Cezary S. Wysocki
50 Tree Road
Centerreach, New York 11720


Rachel Cowart
140-50 Burden Crescent
Unit 2E
Briarwood, New York 11435-2340



                                             s/Shirley D. Gordon


Sworn to before me this
21st day of August, 2018
s/Robert L. Gordon
Qualified in Rockland County
NOTARY PUBLIC No. XX-XXXXXXX
Commission Expires June 29, 2019
